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UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF NEW YORK

WEIGUO SUN, LINDA HE CHEUNG, JIA LI
WANG, JIAMEI LU, JUN LIU, MAO-FU                            Civil Action No.: 1:21-cv-04529-LGS
WENG, RUQIN WANG, TELI CHEN,
WEIXIANG GE, SHUANG WANG, XINGYU
YAN, YAN GAO, YI LI, AND YING LIU,
                                                            JURY TRIAL DEMANDED
                   Plaintiffs,

v.                                                          ____________ DEFAULT
                                                            [PROPOSED]
GTV MEDIA GROUP INC., SARACA MEDIA                          JUDGMENT
GROUP INC., WENGUI GUO (a/k/a HO WAN
KWOK), VOICE OF GUO MEDIA, INC., AND
LIHONG WEI LAFRENZ (a/k/a “SARA”, a/k/a
LIHONG WEI)

                   Defendants.




       This cause comes before the Court on Plaintiffs Weiguo Sun’s, Linda He Cheung’s, Jia

Li Wang’s, Jiamei Lu’s, Jun Liu’s, Mao-Fu Weng’s, RuQin Wang’s, Teli Chen’s, Weixiang

Ge’s, Shuang Wang’s, Xingyu Yan’s, Yan Gao’s, Yi Li’s, and Ying Liu’s (collectively

“Plaintiffs”) Order to Show Cause for Default Judgment Pursuant to Federal Rule of Civil

Procedure 55(b)(2). The Court has considered the Order to Show Cause, the supporting papers

and evidence, and all other relevant factors and it is hereby:

       ORDERED AND ADJUGED that Plaintiffs Order to Show Cause is GRANTED.

Default Judgment is entered in favor of Plaintiffs and against Defendants Lihong Wei Lafrenz

and Voice of Guo Media, Inc. (together the “Default Defendants”) as to the claims set forth in
                                               ________
the Counts I, III, IV, and V of the Complaint as follows:
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           1.     __________________________________________________________________
                  The Default Defendants are jointly and severally liable for the damages to each of
___________
the Plaintiffs.

           2.      ________________________________________________________________
                  The Default Defendants are jointly and severally liable for punitive damages to

_________________
each of the Plaintiffs.

           3.     _________________________________________________________
                  The Default Defendants shall pay to Plaintiff Weiguo Sun $59,200.00

____________________________________________________________________________
representing damages and $_________________ representing punitive damages, for a total of
___________________________________________
$________________, plus applicable interest thereon.

           4.     ____________________________________________________________
                  The Default Defendants shall pay to Plaintiff Linda He Cheung $50,030.00

_____________________________________________________________________________
representing damages and $__________________ representing punitive damages, for a total of

___________________________________________
$_______________, plus applicable interest thereon.

           5.     _________________________________________________________
                  The Default Defendants shall pay to Plaintiff Jia Li Wang $430,000.00

____________________________________________________________________________
representing damages and $__________________ representing punitive damages, for a total of
__________________________________________
$_______________, plus applicable interest thereon.
                  __________________________________________________________________
           6.     The Default Defendants shall pay to Plaintiff Jiamei Lu $40,000.00 representing

__________________________________________________________________
damages and $__________________ representing punitive damages, for a total of

__________________________________________
$_______________, plus applicable interest thereon.

           7.     _______________________________________________________________
                  The Default Defendants shall pay to Plaintiff Jun Liu $35,000.00 representing
 __________________________________________________________________
damages and $__________________ representing punitive damages, for a total of
___________________________________________
$_______________, plus applicable interest thereon.

           8.     _________________________________________________________
                  The Default Defendants shall pay to Plaintiff Mao-Fu Weng $45,000.00
_____________________________________________________________________________
representing damages and $__________________ representing punitive damages, for a total of

__________________________________________
$_______________, plus applicable interest thereon.




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           9.    _________________________________________________________
                 The Default Defendants shall pay to Plaintiff RuQin Wang $89,980.00
_____________________________________________________________________________
representing damages and $__________________ representing punitive damages, for a total of
___________________________________________
$_______________, plus applicable interest thereon.

           10.   __________________________________________________________________
                 The Default Defendants shall pay to Plaintiff Teli Chen $125,000.00 representing

__________________________________________________________________
damages and $__________________ representing punitive damages, for a total of

__________________________________________
$_______________, plus applicable interest thereon.

           11.   __________________________________________________________________
                 The Default Defendants shall pay to Plaintiff Weixiang Ge $4,500.00 representing
__________________________________________________________________
damages and $__________________ representing punitive damages, for a total of

__________________________________________
$_______________, plus applicable interest thereon.

           12.   _______________________________________________________________
                 The Default Defendants shall pay to Plaintiff Linda Shuang Wang $25,500.00

____________________________________________________________________________
representing damages and $__________________ representing punitive damages, for a total of
___________________________________________
$_______________, plus applicable interest thereon.

           13.    _________________________________________________________
                 The Default Defendants shall pay to Plaintiff Xingyu Yan $100,000.00

_____________________________________________________________________________
representing damages and $__________________ representing punitive damages, for a total of
__________________________________________
$_______________, plus applicable interest thereon.

           14.   ________________________________________________________________
                 The Default Defendants shall pay to Plaintiff Yan Gao $66,000.00 representing

__________________________________________________________________
 damages and $__________________ representing punitive damages, for a total of

__________________________________________
$_______________, plus applicable interest thereon.

           15.    ____________________________________________________________
                 The Default Defendants shall pay to Plaintiff Yi Li $45,000.00 representing
__________________________________________________________________
damages and $__________________ representing punitive damages, for a total of

___________________________________________
$_______________, plus applicable interest thereon.




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            16.   __________________________________________________________________
                  The Default Defendants shall pay to Plaintiff Ying Liu $20,000.00 representing
 __________________________________________________________________
 damages and $__________________ representing punitive damages, for a total of
 ___________________________________________
 $_______________, plus applicable interest thereon.

            IT IS SO ORDERED.
 _________________________
 DATED:
                                              _________________________________________
                                              United States District Judge
                                              Lorna G. Schofield

A separate referral order for an inquest on
damages will issue.

SO ORDERED.

Dated: October 14, 2021
       New York, New York




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